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IN THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF VIRGINIA

| LE
MAY 2 2 2019

 

   
 

 

 

Alexandria Division

  
 

 

 

 

  

CLERK, U.S. DISTRICT COURT

UNITED STATES OF AMERICA ALEXANDRIA, VIRGINIA

    

v.
Case No. 1:19-mj-244

BRADLEY S. FANNING,

Defendant.

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Officer Michael Medeiros, being duly sworn, state the following:

1. I entered on duty with the Security Protective Service ("SPS") of the Central
Intelligence Agency ("CIA") in June 2017. I graduated from the Federal Law Enforcement
Training Center in October 2017. Following my graduation, I received an additional eight weeks
of CIA-specific training prior to being assigned as an officer at various CIA installations.

os This affidavit is submitted in support of a criminal complaint charging BRADLEY
S. FANNING with criminal trespass at CIA Headquarters in Mclean, Virginia, in violation of 32
C.F.R. § 1903.7, which prohibits entering or remaining on an Agency installation without proper
authorization.

fe The facts and information contained in this affidavit are based upon my personal
knowledge and observations during the course of this investigation, information conveyed to me
by other individuals, including law enforcement officers, and my review of records, documents,

and other physical evidence obtained during the investigation. This affidavit contains information
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necessary to support probable cause, and it is not intended to include each and every fact and
matter observed by me or known to the government.

4, On May 21, 2019, at approximately 2:00 p.m., CIA Police Officers initially
encountered the Defendant at the Visitor Control Center (VCC) at CIA Headquarters in McLean,
Virginia, within the Eastern District of Virginia. The Defendant arrived by taxi, and passed a sign
that reads, in pertinent part:

“WARNING
RESTRICTED
U.S. GOVERNMENT
INSTALLATION
EMPLOYEES AND OFFICIAL VISITORS ONLY
IT IS UNLAWFUL TO ENTER
OR ATTEMPT TO ENTER
THIS INSTALLATION WITHOUT
PROPER AUTHORIZATION.”

5. Upon arrival, Officers asked the Defendant to state his business at CIA
Headquarters, and he revealed that he was at the CIA for a meeting, but refused to identify who
the meeting was with, or the purpose of the meeting. Officers then asked the Defendant for
identification, and he provided a Georgia Driver’s License. Eventually, the Defendant disclosed
that he was at CIA Headquarters to start his first day of work for the Agency. After a review of
Agency records, Officers determined the Defendant was not an applicant or employee, and did not
have legitimate business at the CIA, and gave him a verbal warning that he was trespassing. The

Defendant then refused to leave, and I issued a written warning to the Defendant for trespassing
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on an Agency installation in violation of 32 C.F.R. § 1903.7. The Defendant again stated that he
would not leave, and declaimed, “I’m coming to work. Today’s my first day. I’m not leaving.” I
then warned the Defendant that if he did not depart the premises, he would be arrested for
trespassing. The Defendant persisted in his refusal to leave the premises, and I ordered him to exit
the vehicle. The Defendant exited the vehicle as directed, and I arrested him for trespassing.

8. Except for this trespassing incident, the CIA has no current or prior official
relationship with the Defendant.

9. Based on the foregoing, I submit there is probable cause to believe that on May 21,
2019, within the Eastern District of Virginia, BRADLEY S. FANNING did remain on an Agency
installation without proper authorization, after being ordered to leave, in violation of 32 C.F.R. §
1903.7.

Bebe ecieeu>
Officer Michael Medeiros

Security Protective Service
Central Intelligence Agency

Subscribed and sworn to before me
This 288 day of May 2019.

Zend.
py NO

John F. Anderson

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Honorable John F. Anderson
United States Magistrate Judge
Alexandria, Virginia
